                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                  No. 7:16-cv-00233-FL
 BOBBY JO ROSINBAUM AND ROBERT
 WILLIAM MORGAN, JR., individually and on
 behalf of all similarly situated individuals,
                                                         PLAINTIFFS’ RESPONSE TO
                                Plaintiffs,           DEFENDANTS’ MOTION TO STAY
                                                     BRIEFING ON PLAINTIFFS’ MOTION
 -v-                                                 FOR CONDITIONAL CERTIFICATION
                                                       PENDING RULE 16 SCHEDULING
 FLOWERS FOODS, INC. and FRANKLIN                     ORDER BY TRANSFEREE COURT
 BAKING COMPANY, LLC,


                                Defendants.

I.     Introduction

Defendant’s Motion for an order requiring the Parties to submit an amended Rule 26(f) report and

renewed Motion to stay conditional certification briefing pending entry of a Rule 16 scheduling

order must be denied because it’s an unnecessary waste of judicial economy, and, without clear

and convincing justification, places a substantial burden on protecting and preserving potential

collective class members’ rights. Additionally, the request for a Rule 26(f) conference is moot

because the parties held a conference on July 12, 2016, during which the Plaintiffs learned that

Defendants filed this motion.

II.    Factual Background

Plaintiffs brought this putative class and collective action against Flowers Foods, Inc. (“Flowers”)

and Franklin Baking Company, LLC (“Franklin”) (collectively “Defendants”) on December 1,

2015 in the Western District of North Carolina alleging that Defendants misclassified their bakery

distributor drivers (“Distributors”) as independent contractors. Plaintiffs allege violations of the

Federal Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seq.; the North Carolina Wage




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and Hour Act, N.C. Gen. Stat. §§ 95-25.1, et seq.; the North Carolina Unfair and Deceptive Trade

Practices Act, N.C. Gen. Stat. § 75-1.1; N.C. Admin. Code § 12.0205; and seek Declaratory

Judgment pursuant to 28 U.S.C. § 2201 and N.C. Gen. Stat. § 1-253. This is one of 23 nearly

identical cases pending throughout the United States, and one of six on which counsel for the

parties are the same. Of those six cases, four were filed within weeks of each other and the fifth

had an FLSA cause of action added in approximately the same time frame.

       On February 19, 2016, the Parties conferred regarding discovery for this action and

deadlines for filing motions, and on March 1, 2016, filed their Certification and Report of their

Rule 26(f) conference and discovery plan. The Parties disagreed with respect to whether discovery

should be bifurcated into (1) FLSA conditional certification discovery and discovery focusing on

issues related to Rule 23 certification followed by (2) discovery on damages, merits, and

decertification issues. To prevent needless delay, and excessive motion practice, Plaintiffs

proposed that discovery should commence the day following the Parties’ submission of their

Certification and Report, during which, the Parties would brief FLSA conditional certification,

while, at the same time, take discovery into all four causes of action. The primary rationale for

this was to keep this case on a roughly similar schedule as the other five other cases with common

counsel. Given the delay caused by transfer, this case is behind the others in all respects and so the

benefit of the previous plan can no longer be realized.

       Shortly before the Parties filed their Certification and Report, Defendants filed a motion to

transfer venue, arguing that the bulk of evidence relevant to the case lies in the Eastern District of

North Carolina, where Defendant Franklin is based.

       On March 7, 2016, Plaintiffs filed their Motion for Conditional Certification in the Western

District of North Carolina seeking authorization for this case to proceed as a collective action, the


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issuance of Plaintiffs’ proposed notice to be mailed to all potential opt-in Plaintiffs, and the

identification of all Distributors who worked for Defendants during the proposed class period.

Upon Defendants’ request and Plaintiffs’ certification that they would not oppose the request, on

March 21, 2016, the U.S. District Court for the Western District of North Carolina issued an order

that stayed briefing and decision on Plaintiffs’ motion for class certification until the court ruled

on Defendants’ then pending motion to transfer venue. Additionally, the court tolled the statute of

limitations under the FLSA for putative opt-in plaintiffs from the date Plaintiffs filed their Motion

for conditional certification until the court ruled on Defendants’ motion to transfer venue.

       On June 8, 2016, the court granted Defendants’ motion to transfer after finding that

potential witnesses and the location of evidence favored transfer to the Eastern District of North

Carolina. On June 14, 2016, Defendants’ moved to stay briefing on Plaintiffs’ Motion for

conditional certification. Before Plaintiffs could respond to their June 14th motion to stay briefing,

Defendants filed another motion to stay briefing on Plaintiffs’ pending motion for conditional

certification without serving Plaintiffs with either a hard or electronic copy. Recognizing that

Defendants’ June 29, 2016 motion was in some part duplicative of their June 14, 2016 motion to

stay briefing, this Court ordered the clerk to terminate Defendants’ June 14th motion and expedited

Plaintiffs’ time to respond to Defendants’ June 29, 2016 motion to stay the briefing on Plaintiffs’

pending motion for conditional certification.

       On July 12, 2016, the Parties met and conferred again. At the Parties July 12th Rule 26(f)

conference, Plaintiffs’ counsel first received notice of Defendants’ June 29th motion because

Plaintiffs’ counsel were not ECF participants at the time and Defendants did not serve Plaintiffs’

counsel by U.S. Mail. Plaintiffs’ counsel immediately requested that Defendants withdraw this

motion and refile so that Plaintiffs could have time to respond. Defendants’ counsel declined.


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Plaintiffs then moved for an extension of time to respond. This Court granted Plaintiffs’ Motion,

and this response follows.

III.      Argument

          A.      Defendants have failed to provide any justification for this Court to Order the
                  parties to meet and confer again regarding discovery. Defendants’ Motion is
                  Moot, as the parties have already met and conferred regarding discovery on
                  July 12, 2016.

The parties met and conferred on July 12, 2016 regarding filing an amended Rule 26(f) report.

While there are currently areas of disagreement, counsel continue to work to resolve or narrow the

areas of dispute. The parties intend to submit an amended Rule 26(f) report within 14 days of this

filing.

          B.      Defendants’ Motion to Stay fails to provide a clear and convincing justification
                  for this Court to grant Defendants’ Motion to stay. Granting Defendants’
                  Motion to stay will needlessly delay the just, and efficient resolution of this
                  case and will undoubtedly prejudice potential members of the putative class,
                  whose claims are being extinguished due to the running of the statute of
                  limitation.

Although it is well recognized that district courts have the inherent power to stay proceedings

under their general equity powers and in the interest of efficient management of their dockets,

this power is not without limitation. Williford v. Armstrong World Indus., 715 F.2d 124, 127 (4th

Cir. 1983). In determining whether a stay is warranted the court must weigh the competing

interests to maintain an even balance. Landis v. North Am. Co., 299 U.S. 259, 254 (1936). “The

party seeking a stay must justify it by clear and convincing circumstances outweighing potential

harm to the party against whom it is operative.” Williford, 715 F.2d at 127. The suppliant for a

stay must make out a clear case of hardship or inequity in being required to go forward, if there

is even a fair possibility that the stay for which he prays will work damage to someone else. Id.

(citing Landis, 299 U.S. at 254–255).



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               1.      Defendants fail to state a clear and convincing justification for
                       this Court to stay these proceedings.
Defendants’ Motion provides nothing more than the baseless assertion that they will be

substantially prejudiced absent an order from this Court staying briefing on Plaintiffs’ Motion for

conditional certification, which has now been pending without response for more than four months.

In their memorandum in support, Defendants do not identify a single realistic harm that would

result from complying with the Federal Rules of Civil Procedure and submitting an opposition to

Plaintiffs’ motion for conditional certification before the Court has issued an order regarding the

Parties ability to engage in discovery. To be clear, Defendants’ supposed need for a stay is purely

hypothetical, grossly mischaracterizes the cases it relies on in support, and fails to meet the clear

and convincing burden to justify an order from this Court to stay proceedings.

       At the outset, it is important to consider the nature of the motion to which a party is seeking

to avoid making a timely response. Here, the motion is Plaintiffs’ motion conditional certification

of an FLSA collective action. Courts in the Fourth Circuit, follow a two-step approach when

deciding whether plaintiffs are similarly situated for the purpose of certifying a collective action.

See Long v. CPI Sec. Systems, Inc., 292 F.R.D. 296, 298 (W.D.N.C. 2013). First, the court

determines whether the putative class members’ claims are sufficiently similar are sufficiently

similar to warrant sending notice of the action to possible members of the class. If they are, notice

is sent and new plaintiffs are permitted to “opt-in” to the law suit. Second, after discovery is

largely complete and more information on the case is available, the court makes a final

determination as to whether all plaintiffs are sufficiently similar to proceed together in a single

action. See id. at 298-99; Adams v. Citicorp Credit Services, Inc., 93 F.Supp. 3d 441 at 452-53

(M.D.N.C. 2015) (citations omitted).




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       Federal courts in North Carolina consistently hold that at the first stage, known as the

“notice stage,” the similarly situated requirement is relatively modest because the court is making

a decision based on the minimal record before it. See Long, 292 F.R.D. at 298, see also Adams,

93 F.Supp. 3d at 453; Zelaya v. A+ Tires, Brakes, Lubes, and Mufflers, No. 5:13-cv-801-F, 2015

WL 5703569, at *3 (E.D.N.C. Sept. 28, 2015). At this stage, the court asks only whether plaintiffs

have made substantial allegations that the putative class members were together the victims of a

single decision, policy or plan. See Romero v. Mountaire Farms, Inc., 796 F.Supp.2d 700, 705

(E.D.N.C. 2011) (“Consistent with the underlying purpose of the FLSA’s collective action

procedure, this initial inquiry proceeds under a ‘fairly lenient standard’ and requires only ‘minimal

evidence.’”) (citing Choimbol v. Fairfield Resorts, Inc., 475 F.Supp.2d 557, at 562 (E.D. Va.

2006)). Importantly, the plaintiffs’ situations need not be identical, and at this stage of the

litigation, individual differences as to time actually worked, wages actually due and hours involved

are not germane to the Court’s decision.      See De Luna-Guerrero v. North Carolina Grower’s

Ass’n, Inc., 338 F.Supp. 2d 649, 654 (E.D.N.C. 2004) (citations omitted). “The primary focus in

this inquiry is whether the potential plaintiffs are ‘similarly situated with respect to the legal, and

to a lesser extent, the factual issues to be determined.’” Long 292 F.R.D. at 298-299; see also

Essame v. SSC Laurel Operating Co., 847 F. Supp. 2d 821 at 826 (a fact-intensive inquiry “delves

too deeply into the merits of the dispute; such a steep plunge is inappropriate for such an early

stage of a FLSA collective action); McLaurin v. Prestage Foods, Inc. 271 F.R.D. 465, 470

(E.D.N.C. 2010) (“[C]ourts have routinely recognized that where an employer has a common

practice of failing to pay employees for all hours worked, factual distinctions of the type claimed

by [defendant] provide no basis to deny initial certification of a collective action under the

FLSA.”); Butler v. DirectSAT USA, LLC, 876 F.Supp.2d 560 n.10 (D. Md. 2012) (“The crux of


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the similarly situated analysis is not quantitative; rather, it focuses on whether plaintiffs have

demonstrated by affidavits or other means that a common policy, plan, or scheme to violate the

FLSA exists.”).

       Defendants do not identify any real or particularized prejudice that would result absent a

stay of proceedings, and instead rely on the erroneous presumption that because it has been done

elsewhere, it must be done here. However, the caselaw cited by Defendants does not even come

remotely close to recognizing the propriety of allowing parties to conduct limited discovery prior

to conditional certification briefing, and instead favors denying Defendants’ motion in its entirety

and requiring Defendants to respond to Plaintiffs’ motion for class certification without the need

for a scheduling order from this Court. Defendants’ reliance on the case management plan in

Rehberg v. Fowers Foods, fails to note that some of the order was negotiated between the parties.

Rehberg v. Fowers Foods, No. 3:12-cv-596, Am. Certification and Report, Ct. Doc. No. 29

(W.D.N.C. Nov. 27, 2012) (unpublished). Furthermore, Defendants fail to acknowledge that the

extensive discovery that Defendants’ had sought and used to oppose conditional certification in

Rehberg, had absolutely zero effect on the court’s decision to grant the plaintiffs’ motion for

conditional certification. See, Rehberg v. Fowers Foods, No. 3:12-cv-596, Order, Ct. Doc. No. 38

(W.D.N.C. Mar. 22, 2013) (unpublished). Given Plaintiffs’ experience in the earlier case, they are

unwilling to make the same agreement in this matter because it led to protracted discovery with

many discovery disputes and ultimately yielded no benefit. The frustrations experienced because

of the unnecessary disputes and extensive delays in litigation were undoubtedly shared by the

parties in the cases that permitted bifurcated discovery cited to and relied on by Defendants. As

such, delaying the just and efficient resolution of Plaintiffs’ Motion for conditional certification to




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permit a period of early discovery would be futile and prejudice Plaintiffs and potential members

of the putative class.

        In Valeasquez Martinez, the court was concerned with whether to permit plaintiffs to obtain

discovery of the contact information for putative class members prior to conditional certification.

Though the parties had agreed to bifurcate discovery, with the first phase focused on whether the

case was appropriate for class and collective certification, and the second phase focusing on the

merits of the remaining claims or defenses after the class is certified, the opinion cited by

Defendants highlights the inefficiencies of bifurcated discovery and the fairly lenient burden

required for conditional certification. The plaintiffs had requested the contact information for

putative class members prior to the conditional certification of the case, arguing that the

information was necessary to establish that the case should be certified under the FLSA. The court

disagreed, and found that absent a showing of a particularized need, the requested information was

unjustified, given the fairly low burden of establishing conditional certification is appropriate.

Here, Defendants’ point to no particularized need for this Court to issue an order setting discovery

and briefing deadlines before responding to Plaintiffs’ motion for conditional certification.

        In Solais v. Vesuvio’s II Pizza & Grill, Inc., the court was confronted with a motion to

compel answers to deposition questions that the plaintiff’s counsel had objected to for being

outside the scope of the discovery order limiting discovery to plaintiffs’ motion for conditional

certification. After the plaintiff filed her motion for conditional certification, the defendants

requested a short period to conduct discovery on the issue of conditional certification. The court,

after hearing argument from counsel, authorized a forty-five (45) day period for limited discovery

pertaining to the named Plaintiff and the only opt-in plaintiff on the subject of factual issues raised

by the motion for conditional certification. During the deposition of the named plaintiff, plaintiff’s


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counsel objected to several questions, and instructed the plaintiff not to answer as those questions

were outside the scope of the court’s order. In denying the defendants’ motion to compel answers

to deposition questions, the court emphasized that “when evaluating conditional certification, the

Court does not resolve factual disputes, decide substantive issues on the merits, or make credibility

findings.” Id. a *3 (citation omitted). The questions defendants sought to be answered were

described by the defendants as standard questions related to background and credibility, which

included questions on the plaintiffs’ family, marital status, birthplaces, employment and

educational histories, whether the plaintiff opted-in to the lawsuit, the plaintiff’s criminal history,

and whether the plaintiff had told the truth to defendants or made prior claims related to wages.

The court found that none of these questions were relevant at the conditional certification stage

and that the burden or expense of obtaining the requested information outweighed its usefulness.

The defendants had also moved to compel answers to deposition questions relating to the validity

of signatures on checks and other documents purportedly signed by plaintiff. The court rejected

defendants’ argument and found that these issues, as with the questions on background and

credibility, were premature because the court cannot resolve factual disputes at the conditional

certification stage.

        Defendants’ also point to an Order issued by Magistrate Judge David S. Cayer in Long,

authorizing limited discovery on the issue of conditional certification and granting defendants in

that action an enlarged period of time to respond. Long v. CPI Security Sys., Inc., No. 3:12-cv-

396-RJC-DSC, Ct. Doc. No. 45, Order (W.D.N.C. Sep. 28, 2012) (unpublished).1 However,



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     The parties in Long had filed a Certification of Initial Attorneys’ Conference, in which they
reported to the court that they could not reach an agreement as to the proposed discovery plan for
the case. See, Long, 292 F.R.D. at 297–298. The defendant sought a bifurcated discovery plan,
which envisioned a “notice phase” and a “merits phase” of discovery. The plaintiff opposed the
bifurcated plan, and sought to limit the defendant’s deposition hours. The defendant had disagreed,
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Defendants fail to address the circumstances surrounding the order and the order itself provides no

indication of what the court’s rationale was for granting the extension of time for precertification

discovery. Id. Defendants in that case had sought a period of sixty days to respond to the plaintiffs

motion for conditional certification so that the defendants could depose the Plaintiff and the nine

opt-in plaintiffs, arguing that their testimony is highly relevant to whether the case was suitable

for conditional certification as a collective action under the FLSA. See Long, 292 F.R.D at 297-

298 (discussing factual history of litigation). The plaintiffs had opposed the motion, in part because

of the lenient standard applied to motions for conditional certification. Id. During the limited

precertification discovery phase authorized by Magistrate Judge Cayer, the defendants took a total

of seven depositions. Id. None of these depositions were relevant to the Court’s decision to grant

conditional certification.

       As emphasized by then Chief Judge Conrad in Long v. CPI Security Sys., Inc., 292 F.R.D.

at 297-298, when ruling on the plaintiff’s motion for conditional certification, the arguments put

forward by the defendants supported by its precertification discovery were inappropriate at the

conditional certification stage of an FLSA collective action because they address the merits and

factual distinctions that are insufficient to preclude class certification. Id. Although the defendants

had argued that because some discovery had taken place the court should apply a heightened

intermediate standard in deciding conditional certification, Judge Conrad rejected this argument

because the weight of Fourth Circuit authority was in favor of the traditional two-stage approach,



emphasizing that it was “committed to taking only that discovery permitted by the Magistrate
Judge to adequately respond to the plaintiff’s motion for conditional certification and stating it
would not address the merits issues during the depositions. Id. The parties further disagreed as to
nearly every discovery limit addressed in the scheduling order. In light of the complete
disagreement between the parties and, finding that a discovery order was unnecessary at the
conditional certification stage of the litigation, the court stayed the issuance of a scheduling order
pending a decision on the plaintiff’s motion for conditional certification. See id., n.2

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and because the court was concerned with injecting the flexibility of a sliding scale in which the

court would calibrate the standard to the quantum (or perhaps quality) of already conducted

discovery—and by extension uncertainty—into the remedial scheme that § 216(b) contemplates.

Id.

       Finally, in Slavinski v. Columbia Association, the court had ordered limited discovery prior

to a decision on conditional certification only after the court had denied, without prejudice, the

plaintiff’s first motion for conditional certification. And, discovery was authorized only for the

limited purpose of permitting the plaintiff to discover (1) evidence that would clarify her exempt

or non-exempt status under the FLSA; (2) evidence related to the number and exempt or non-

exempt status of employees performing similar functions; and (3) evidence related to the plaintiffs’

termination, where the plaintiff had also alleged a claim for retaliation. In support of her first (and

second) motion for conditional certification, the plaintiff had submitted a lone affidavit that left it

unclear whether there existed other employees similarly situated. Troubled by the insufficiency

of a single affidavit in support of a motion for conditional certification, the court had granted the

plaintiff a limited period of discovery to allow the plaintiff to provide the requisite factual showing

of her claims necessary to grant conditional certification.

               2.      The unsubstantiated prejudice alleged in Defendants’ Motion to
                       stay fails to outweigh the substantial prejudice already being
                       suffered by members of the potential putative class and the
                       prejudice resulting from any needless delay in the proceedings.
Delaying this action, for the purposes of conducting discovery prior to briefing the issue of

conditional certification prejudices potential putative class members whose claims are being

extinguished each day by the statute of limitations of the FLSA. The Western District had only

tolled the statute of limitations under the FLSA for putative class members until the court ruled on

Defendants’ motion to transfer venue. Now that the case has been transferred, the statute of

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limitations is running and the claims of potential opt-in Plaintiffs are being extinguished or

diminished. Each day that passes without these individuals filing their notice of consent provides

a windfall to Defendants in the form of Plaintiffs; uncompensated hours. Prompt notice to the

potential collective class members is critical to preserving and protecting their rights under the

FLSA and Defendants’ Motion to stay will undoubtedly prejudice Plaintiffs’ ability to protect their

rights.

IV.       Conclusion

For the reasons stated above, Defendants’ Motion to Stay should be denied in its entirety and

Defendants should respond to Plaintiffs’ pending motion for conditional certification. Defendants

have failed to identify a single reason to justify delaying the just, and efficient resolution of this

matter and have failed to provide a clear and convincing justification to cause further prejudice to

potential members of the putative class whose claims are being extinguished or diminished as each

day passes without these individuals filing their notice of consent. As the cases Defendants relied

on illustrate, the absence of discovery has absolutely no realistic impact on whether Plaintiffs have

met the fairly low burden of establishing conditional certification is appropriate, and the

bifurcation of discovery into “notice” and “merits” stages leads to excessive motion practice and

unnecessary delays in the proceedings.




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This 20th day of July 2016.            Respectfully submitted,

  /s/Shawn J. Wanta                     Susan E. Ellingstad
 Shawn J. Wanta                         MN State Bar No. 243346
 MN State Bar No. 389164                Brian D. Clark
 Christopher D. Jozwiak                 MN State Bar No. 390069
 MN State Bar No. 386797                Rachel A. Kitze Collins
 BAILLON THOME                          MN State Bar No. 396555
 JOZWIAK & WANTA LLP                    LOCKRIDGE GRINDAL NAUEN P.L.L.P.
 100 South Fifth Street, Suite 1200     100 Washington Avenue South, Suite 2200
 Minneapolis, Minnesota 55402           Minneapolis, Minnesota 55402
 Telephone: (612) 252-3570              Telephone: (612) 339-6900
 Fax: (612) 252-3571                    Fax: (612) 339-0981
 Email: sjwanta@baillonthome.com        Email: seellingstad@locklaw.com
 Email: cdjozwiak@baillonthome.com      Email: bdclark@locklaw.com
 LR 83.1 Counsel                        Email: rkitzecollins@locklaw.com
                                        LR 83.1 Counsel
 Leto Copeley
 NC State Bar No. 12624                 J. Gordon Rudd, Jr.
 COPELEY JOHNSON & GRONINGER PLLC       MN State Bar No. 222082
 300 Blackwell Street, Suite 101        David Cialkowski
 Durham, NC 27701                       MN State Bar No. 306526
 Telephone: (919) 240-4054              ZIMMERMAN REED PLLP
 Fax: (888) 412-0421                    111 IDS Center
 Email: leto@cjglawfirm.com             80 South 8th Street
                                        Minneapolis, Minnesota 55402
 Charles E. Schaffer                    Telephone: (612) 341-0400
 PA State Bar No. 76259                 Fax: (612) 341-0844
 LEVIN, FISHBEIN, SEDRAN & BERMAN       Email: Gordon.Rudd@zimmreed.com
 510 Walnut Street                      Email: David.Cialkowski@zimmreed.com
 Suite 500                              LR 83.1 Counsel
 Philadelphia, Pennsylvania 19106
 Telephone: (215) 592-1500
 Fax: (215) 592-4663
 Email: cschaffer@lfsblaw.com
 LR 83.1 Counsel

 Attorneys for Named Plaintiffs




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2016, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the following:

       Benjamin R. Holland
       Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
       201 South College Street, Suite 2300
       Charlotte, NC 28244
       Email: ben.holland@ogletreedeakins.com

       Elizabeth R. Dangel
       Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
       201 South College Street, Suite 2300
       Charlotte, NC 28244
       Email: liz.dangel@ogletreedeakins.com
       Michael J. Murphy
       Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
       1909 K Street, N.W., Suite 1000
       Washington, DC 20006
       michael.murphy@ogletreedeakins.com

       Christopher E. Humber
       Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
       1909 K Street, N.W., Suite 1000
       Washington, DC 20006
       chris.humber@ogletreedeakins.com


       I further certify that I have mailed the document to the following non CM/ECF participant:

       Lia A. Lesner
       Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
       201 South College Street, Suite 2300
       Charlotte, NC 28244

       /s/Shawn J. Wanta
       Shawn J. Wanta




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